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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

JANE DOE 1, et al.,                                 §
                                                    §
                          Plaintiffs,               §
                                                    §
vs.                                                 §   Cause No. 6:16-cv-173-RP
                                                    §
BAYLOR UNIVERSITY                                   §
                                                    §
                          Defendant.                §

               PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW PLAINTIFFS, and file this Unopposed Motion for Extension of Time as

follows:

         1.       On March 27, 2019, Defendant Baylor University filed a First Amended Motion to

Compel the Production of Documents [ECF 605]. Plaintiffs request an extension of time until

April 9, 2019 to respond to this Motion. The Defendants do not oppose this request.

         2.       Plaintiffs request additional time due to the volume of arguments Defendant

advances and the complex history of discovery in this case. Also, Plaintiffs’ counsel has been in a

nonstop court ordered settlement conference with the State of Texas in another federal case since

the motion was filed See Case No. 5:19-cv-00074-FB; Texas League of United Latin American Citizens

et al v. Whitley et al.

                                            CONCLUSION

      Plaintiffs respectfully pray that the Court will extend the time for filing a response to April 9,

2019.
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Dated this 3rd day of April, 2019.

                                      Respectfully submitted,

                                      BRAZIL & DUNN, L.L.P.

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                           CERTIFICATE OF CONFERENCE

    The undersigned counsel certifies that prior to filing this motion, he conferred with counsel
for Defendant who advised him that the attached proposed Order is unopposed.

                                               /s/ Chad W. Dunn
                                              Chad W. Dunn


                               CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the above and foregoing motion has been
sent via the Court’s electronic filing system to counsel for Defendant on April 3, 2019.

                                               /s/ Chad W. Dunn
                                              Chad W. Dunn




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